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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                    Criminal No. 05-296 (RHK/SRN)

UNITED STATES OF AMERICA,               )
                                        )
                      Plaintiff,        )
                                        )        PRELIMINARY
               v.                       )     ORDER OF FORFEITURE
                                        )
DENA JEAN JACKSON,                      )
                                        )
                      Defendant.        )

    Based on the United States’ motion for a Preliminary Order

of Forfeiture; on the Plea Agreement entered into between the

United States and Defendant Dena Jean Jackson; on the Court

having found that certain property is subject to forfeiture

pursuant to 21 U.S.C. § 853(a); and on the Court’s determination

that, based on the Plea Agreement entered into by the defendant

and based on all of the files and records of this proceeding,

the government has established the requisite nexus between such

property and the offense to which the defendant has pled guilty,

    IT IS HEREBY ORDERED that:

    1.   $23,000 in United States currency is forfeited to the

United States pursuant to 21 U.S.C. § 853(a);

    2. the Attorney General or his authorized designee may seize

the foregoing property and maintain custody and control of the

property pending the entry of a Final Order of Forfeiture;

    3.    the United States shall, pursuant to 21 U.S.C. §

853(n)(1), publish and give notice of this Order and its intent
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to dispose of the foregoing property in such manner as the

Attorney General may direct;

    4.     pursuant to Fed.R.Crim.P. 32.2(b)(3), this Preliminary

Order of Forfeiture shall become final as to the defendant at

the time of sentencing, and shall be made a part of the sentence

and included in the judgment;

    5. following the Court's disposition of all petitions filed

pursuant to 21 U.S.C. § 853(n)(2) or, if no petitions are filed,

following the expiration of the time period specified within

which to file such petitions, the United States shall have clear

title to the foregoing property and may warrant good title to

any subsequent purchaser or transferee; and

    6.     the Court shall retain jurisdiction to enforce this

Order, and to amend it as necessary pursuant to Fed.R.Crim.P.

32.2(e).



Dated: 12/9/05                   s/Richard H. Kyle
                                 RICHARD H. KYLE, Judge
                                 United States District Court




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